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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
______________________________
                               )
HUNTER HEANEY,                 )
                               )
                  Plaintiff,   )
                               )
v.                             )  Civil Action No. 17-2042 (KBJ)
                               )
CENTRAL INTELLIGENCE           )
AGENCY,                        )
                               )
                Defendant.     )
_____________________________ )

                              JOINT PROPOSED SCHEDULE

       Plaintiff Hunter Heaney, and Defendant Central Intelligence Agency (“CIA”), pursuant to

the Court’s Minute Order entered October 23, 2018, respectfully submit this joint proposed

schedule in this Freedom of Information Act (“FOIA”) case.

       The CIA has almost finished processing plaintiff’s FOIA request and anticipates that it

will make a final decision on or before November 30, 2018. The parties will then need time to

confer on the next steps in order to provide a proposed schedule for moving forward.

       Accordingly, the parties propose that they file a further joint proposed schedule on or

before December 12, 2018.

                                             Respectfully submitted,

                                            JESSIE K. LIU,
                                            D.C. BAR # 472845
                                             United States Attorney
                                             for the District of Columbia


                                             DANIEL F. VAN HORN
                                             D.C. BAR # 924092
                                             Chief, Civil Division
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                           /s/ Marina Utgoff Braswell
                           Signed with permission by filing attorney
                           MARINA UTGOFF BRASWELL
                           D.C. Bar # 416587
                           Assistant United States Attorney
                           United States Attorney’s Office
                           555 4th Street, N.W. – Civil Division
                           Washington, D.C. 20530
                           (202) 252-2561
                           Marina.braswell@usdoj.gov

                           Counsel for Defendant

                           /s/ Joshua Hart Burday
                           Matthew Topic
                           Joshua Burday
                           LOEVY & LOEVY
                           311 N. Aberdeen, Third Floor
                           Chicago, IL 60607
                           (312) 243-5900
                           matt@loevy.com
                           joshb@loevy.com

                           Counsel for Plaintiff




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